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 1                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF PUERTO RICO
 2
 3        UNITED STATES OF AMERICA,
 4
          Plaintiff,
 5
          v.
 6                                                                  CRIMINAL 07-189 (JAG)
 7        [13] ARNALDO DELIZ-SUAREZ

 8        Defendant.
 9
10                       MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
                             RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)
11
12   I.         Procedural Background
13              On April 25, 2007, a Grand Jury returned a fourteen-count indictment against Arnaldo Delíz-
14   Suárez (hereinafter referred to as “defendant”) and twelve (12) other individuals. Docket 2. Defendant
15   was charged only in counts three and fourteen of the indictment. On August 14, 2007, defendant filed
16   a motion for change of plea. Docket 161.
17              The defendant has agreed to plead guilty to count three of the indictment. Count three charges
18   that on or about March 31, 2005, in the District of Puerto Rico, and within the jurisdiction of this Court,
19   defendant Arnaldo Delíz Suárez, did knowingly and intentionally possess with the intent of distribute,
20   and did distribute, approximately one hundred six (106) grams (gross weight) of a mixture of substance
21   containing a detectable amount of cocaine, Schedule II, Narcotic Drug Controlled Substances, in
22   violation of Title 21,United States Code, Section 841 (a)(1), and (b)(1)(C).
23   II.        Consent to Proceed Before a Magistrate Judge
24              On August 30, 2007, while assisted by attorney Rafael Castro-Lang, Esq., the defendant, by
25   consent, appeared before the undersigned in order to change his previous not guilty plea to a plea of
26   guilty as to count three of the indictment.
27              In open court the defendant was questioned as to the purpose of the hearing being held and was
28   advised of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries were to be conducted
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 2   under oath and that it was expected that his answers would be truthful; (c) the potential consequences
 3   of lying under oath (such as a perjury charge); and (d) his right to have the change of plea proceedings
 4   presided by a district judge instead of a magistrate judge. The defendant was also explained the
 5   differences between the appointment and functions of the two. The defendant consented to proceed
 6   before the undersigned magistrate judge.
 7   III.   Proceedings Under Rule 11, Federal Rules of Criminal Procedure
 8          A.      Rule 11(c)(1) Requirements
 9                  Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of
            guilty pleas to federal criminal violations. Pursuant to Rule 11, in order for a plea of
10          guilty to constitute a valid waiver of the defendant’s right to trial, guilty pleas must be
            knowing and voluntary: “Rule 11 was intended to ensure that a defendant who pleads
11          guilty does so with an ‘understanding of the nature of the charge and consequences of
            his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting
12          McCarthy v. United States, 394 U.S. 459, 467 (1969)). [There are three core concerns
            in these proceedings]: 1) absence of coercion; 2) understanding of the charges; and 3)
13          knowledge of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
            F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st Cir. 1991)).
14
     United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
15
            In response to further questioning, defendant was explained and he understood that if convicted
16
     on count three he will face the following maximum penalties: a term of imprisonment of not more than
17
     twenty (20) years, a fine not to exceed one million dollars ($1,000,000.00), and a term of supervised
18
     release of at least three (3) years. Defendant was also made aware that the court must impose a
19
     mandatory penalty assessment of one hundred dollars ($100) per offense pursuant Title 18, United
20
     States Code, Section 3013(a).
21
            The defendant was advised that the ultimate sentence was a matter solely for the court to decide
22
     in its discretion and that, even if the maximum imprisonment term and fine were to be imposed upon
23
     him, he later could not withdraw his guilty plea for that reason alone. The defendant understood this.
24
            The defendant acknowledged that at this stage no guarantees or promises as to the sentence to
25
     be imposed had been made to him. The defendant was also explained what the supervised release term
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     means and was urged to cooperate with the United States Probation Office.
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 2            B. Admonishment of Constitutional Rights
 3            To assure defendant’s understanding and awareness of his rights, defendant was advised of his
 4   right:
 5            1.   To remain silent at trial and be presumed innocent, since it is the government who has the
 6   burden of proving him guilt beyond a reasonable doubt.
 7            2.   To testify or not to testify at trial, and that no adverse inference could be made in relation
 8   to his decision not to testify.
 9            3.   To a speedy trial before a district judge and a jury, at which he would be entitled to see and
10   cross examine the government witnesses, present evidence on his behalf, and challenge the
11   government’s evidence.
12            4.   To have a unanimous verdict rendered by a jury of twelve persons which would have to be
13 convinced of defendant’s guilt beyond a reasonable doubt by means of admissible evidence.
14            5.   To use the subpoena power of the court to compel the attendance of witnesses.
15            Upon listening to the defendant’s responses, observing his demeanor and his speaking with his
16 attorney, that to the best of counsel’s belief defendant had fully understood his rights, it is determined
17 that defendant is aware of his constitutional rights.
18            C. Consequences of Pleading Guilty
19            Upon advising defendant of his constitutional rights, he was further advised of the consequences
20 of pleading guilty. Specifically, defendant was advised that by pleading guilty and upon having his
21 guilty plea accepted by the court, he will be giving up the above rights and will be convicted solely on
22 his statement that he is guilty.
23            Furthermore, the defendant was admonished of the fact that by pleading guilty he would not be
24 allowed later on to withdraw his plea because he eventually might disagree with the sentence imposed,
25 and that if he violates the conditions of supervised release, that privilege could be revoked and he could
26 be required to serve an additional term of imprisonment. He was also explained that parole has been
27 abolished.
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 1                                                        4
 2           D. Plea Agreement
 3           The parties have entered into a written plea agreement that, upon being signed by the
 4 government, defense attorney and defendant, was filed and made part of the record. Defendant was
 5 clearly warned and recognized having understood that:
 6           1.   The plea agreement is not binding upon the sentencing court.
 7           2.   The plea agreement is an agreement between the defendant, defense counsel and the attorney
 8 for the government which is presented as a recommendation to the court in regards to the applicable
 9 sentencing adjustments and guidelines, which are advisory.
10           3.   The agreement provides a sentencing recommendation and/or anticipated sentencing
11 guideline computation, that can be either accepted or rejected by the sentencing court.
12           4.   In spite of the plea agreement and any sentencing recommendation contained therein, the
13 sentencing court retains full discretion to reject such plea agreement and impose any sentence up to the
14 maximum possible penalty prescribed by statute.
15           Defendant acknowledged having understood this explanation.
16           E. Government's Evidence (Basis in Fact)
17           The government presented a proffer of its evidence as stated in the version of facts of the plea
18 agreement with which the defendant concurred.              Furthermore, the defendant admitted that on
19 March 31, 2005, in Puerto Rico, he possessed with intent to distribute approximately 106 grams
20 of cocaine and that he did so knowingly and intentionally, that is not by accident or mistake.
21 Accordingly, it is determined that there is a basis in fact and evidence to establish all the elements of the
22 offense charged.
23           F. Voluntariness
24           The defendant accepted that no threats had been made to induce him to plead guilty and that he
25 did not feel pressured to plead guilty. He came to the hearing for the purpose of pleading guilty and
26 listened attentively as the prosecutor outlined the facts which would have been proven had the case
27 proceeded to trial.
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 2   IV.    Conclusion
 3          The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of
 4 Criminal Procedure, and has entered a plea of guilty as to count three of the indictment. After cautioning
 5 and examining the defendant under oath and in open court, concerning each of the subject matters
 6 mentioned in Rule 11, as described in the preceding sections, I find that defendant Arnaldo Delíz Suárez
 7 is competent to enter this guilty plea, is aware of the nature of the offense charged and the maximum
 8 statutory penalties that the same carries, understands that the charge is supported by the government’s
 9 evidence, has admitted to every element of the offense charged, and has done so in an intelligent and
10 voluntary manner with full knowledge of the consequences of his guilty plea.
11          Therefore, I recommend that the court accept the guilty plea of the defendant and that the
12 defendant be adjudged guilty as to count three of the indictment.
13          This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B) and Rule 72(d)
14 of the Local Rules of Court. Any objections to the same must be specific and must be filed with the
15 Clerk of Court within ten (10) days of its receipt. Rule 72(d), Local Rules of Court; Fed. R. Civ. P.
16 72(b). Failure to timely file specific objections to the report and recommendation is a waiver of the
17 right to review by the district court. United States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
18          SO RECOMMENDED.
19          At San Juan, Puerto Rico, this 30th day of August, 2007.
20
                                                   s/Marcos E. López
21                                                 MARCOS E. LÓPEZ
                                                   UNITED STATES MAGISTRATE JUDGE
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